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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        USA,
                                   7                                                       Case No. 15-cr-00226-BLF-1
                                                       Plaintiff,
                                   8
                                                v.
                                   9                                                       REASSIGNMENT ORDER
                                        DOUGLAS STROMS YORK,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           GOOD CAUSE APPEARING THEREFOR,

                                  14           Pursuant to the agreement of the undersigned judges, IT IS ORDERED that this case is

                                  15   reassigned to the Honorable Edward J. Davila for all further proceedings.

                                  16   Counsel are hereby instructed that all future filings shall bear the new initials EJD immediately

                                  17   after the case number.

                                  18           ALL MATTERS PRESENTLY SCHEDULED FOR HEARING ARE VACATED AND

                                  19   SHOULD BE RENOTICED FOR HEARING BEFORE THE JUDGE TO WHOM THE CASE

                                  20   HAS BEEN REASSIGNED.

                                  21           Briefing schedules, including ADR and other deadlines remain unchanged.

                                  22   Dated: July 30, 2015
                                  23                                                   ______________________________________
                                                                                       Transferring Judge
                                  24
                                                                                       _________________________________
                                  25                                                   Accepting Judge
                                  26                                                   ______________________________________
                                  27                                                   Chief Judge (for the Executive Committee)

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